         Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 1 of 7



                    I N T H E UNI T ED STATE S DISTRICT FOR
                       T H E W E S TERN DIS TRIC T OF TEXA S
                                  AU STI N DIVISION

 JEROME SCHMIDT                           §
                                          §
              Plaintiﬀ                    §
                                          §
 vs.                                      §             No. 1:18-cv-00088-LY
                                          §
 UNITED STATES OF AMERICA,                §
                                          §
              Defendant                   §
                                          §



                  PLAINTIFF ’S REPLY TO
             DEFENDANT ’S RE SP ONSE TO PLAINTIFF ’S
        AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT

       The Court should grant the Amended Motion for Partial Summary Judgment on

the issue of liability because the Government’s response rests on an unavoidable accident

defense, which the Government admitted away in deposition and in response to

Plaintiﬀ ’s Request for Admissions. The Government’s admissions are conclusive

evidence on this issue.




                                            1
            Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 2 of 7



                                        ARGUMENT

          The United States argues the car wreck in this case was an unavoidable accident.1

Yet, the United States never plead unavoidable accident as an aﬃrmative defense.2 And

the Government’s employee’s ﬁnal testimony on the matter undermines the

Government’s defense entirely:

          Q. What do you think you could have done to avoid the accident?

          A. I mean, obviously, I should have, you know, taken more caution and
          made sure that it was a hundred percent clear before entering the
          intersection.

          Q. And would you agree that whether it was rain, sun, shine, sleet,
          whatever the weather conditions that at the moment that this accident
          occurred, that it was still your responsibility to make sure that the
          intersection was clear, no one else’s before you entered?

          A. Yes, sir.3

The United States examined Mr. Saylor once more but did not rehabilitate this point nor

could it.

          Defendant also ignored key facts in its response that are germane to the Court’s

factual review and credibility assessment of the Government’s claimed defense. In his

deposition, Mr. Saylor conﬁrmed that there was nothing unusual about the sun that day




1
    E.g., Fulton v. Shaw, 321 F.2d 545, 546–47 (5th Cir. 1963) (holding that there was no
    evidence of unavoidable accident); Loﬂand v. Jackson, 237 S.W.2d 785, 790 (Tex. App.—
    Amarillo 1950, writ ref ’d n.r.e.) (unavoidable accident where car blinded by sun hit
    darkly dressed pedestrian walking in a shadow).
2
    Fed. R. Civ. P. 8(c); see also Loﬂand, 237 S.W.2d at 790 (unavoidable accident pled).
3
    ECF Doc. #17-1 at 84:22–85:10 (Deposition of Edward Saylor, emphasis added).



                                                 2
            Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 3 of 7



other than it was a bright sunny Texas day.4 Despite the Government’s contention of

blinding light, Mr. Saylor conceded under oath that the sun did not obscure his ability to

see the yellow blinking light in front of him.5 Nor did it prevent him from seeing the clear

green light in front of him at the intersection and direction in which Dr. Schmidt was

approaching him.6 Mr. Saylor also acknowledged that at the scene of the accident when

the events were freshest in his mind, he only characterized the sun as “slightly

obscuring” his visibility.7 Moreover, Mr. Saylor admitted that despite knowing it was a

clear sunny day, he took no action that a reasonably prudent driver would do in the same

or similar circumstances. Namely, he did not wear sunglasses or even use his protective

shade/sun visor in the car to help with any visibility issue.8 These factual admissions

override the United States’ theoretical defense of unavoidable accident and do not rise to

the level of genuine issue of material fact as to liability.

         What’s more, the United States admitted their unavoidable accident defense away

in response to Request for Admission:

         30. No sudden emergency, unavoidable accident, or “act of God” caused or
         contributed to Jerome Schmidt’s injuries that are the basis of this lawsuit.

         Response: Admit.9




4
    Exhibit 1, Deposition of Edward Saylor, at 41:11–23.
5
    Exhibit 1, Deposition of Edward Saylor, at 40:16–25.
6
    Exhibit 1, Deposition of Edward Saylor, at 39:18–25 and 40:8–11.
7
    Exhibit 1, Deposition of Edward Saylor, at 45:21–46:9.
8
    Exhibit 1, Deposition of Edward Saylor, at 53:2–11.
9
    ECF Doc. #17-3 at 7–8 (United States’ Response to Request for Admissions).


                                                3
             Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 4 of 7



The United States responded to this request without objection or qualiﬁcation. And the

United States responded to this request after it had an opportunity to discuss the facts

with its employee, Saylor.

          After Plaintiﬀ ﬁled the instant motion, the United States emailed Plaintiﬀ ’s a copy

of what it purported was a “supplemental and amended” response to Plaintiﬀ ’s Request

for Admissions. But as the Defendant knows, under Federal Rule of Civil Procedure

36(b), “[a] matter admitted under this rule is conclusively established unless the court,

on motion, permits the admission to be withdrawn or amended.”10 Neither can the

Court “permit withdrawal or amendment of the admission unless failure to do so would

cause ‘manifest injustice.’”11 The United States has ﬁled no motion to amend or withdraw.

And where a party has made no motion, the Court is required to give the admission

conclusive eﬀect.12

          But even if it had ﬁled a motion, such hypothetical properly withdrawn admission

is not before the Court as summary judgment evidence. And Rule 36 makes clear that the

question of unavoidable accident is conclusively established against the United States.

The United States cannot oﬀer contrary testimony from Mr. Saylor because “[a]n




10
     See also in re Carney, 258 F.3d 415, 419 (5th Cir. 2001) (an admission can only be
     withdrawn or amended by motion).
11
     Am. Auto. Ass’n Inc. v. AAA Legal Clinic of Jeﬀerson Crooke, P.C., 930 F.2d 1117, 1120 (5th
     Cir. 1991).
12
     E.g., Am. Auto. Ass’n Inc., 930 F.2d at 1120; in re La. Crawﬁsh Prods., 852 F.3d 456, 468 (5th
     Cir. 2017) (an admission conclusively establishes a fact).



                                                  4
            Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 5 of 7



admission that is not withdrawn or amended cannot be rebutted by contrary testimony.”13

Thus, any testimony contrary to the Government’s admissions is not proper summary

judgment evidence.


                                        C ONCLUSION

          Because the United States put forth no evidence to create a genuine dispute as to a

material fact concerning the issue of liability, the Court should grant partial summary

judgment in favor of Plaintiﬀ.




                                              Respectfully Submitted,

                                              /s/ Jamal Alsaﬀar
                                              JAMAL K. ALSAFFAR
                                              jalsaﬀar@nationaltriallaw.com
                                              Texas State Bar #24027193
                                              TOM JACOB
                                              tjacob@nationaltriallaw.com
                                              Texas State Bar #24069981
                                              Whitehurst, Harkness, Brees, Cheng,
                                              Alsaﬀar, Higginbotham, & Jacob PLLC
                                              7500 Rialto Blvd, Bldg Two, Ste 250
                                              Austin, TX 78735
                                              (512) 476-4346 (o)
                                              (512) 467-4400 (f )

                                              HENRY MOORE
                                              henry@moorelegal.net
                                              Texas State Bar #14341500
                                              Law Oﬃces of Henry Moore
                                              1101 E. 11th St.


13
     Id.; see also Armour v. Knowles, 512 F.3d 147, 154 (5th Cir. 2007) (an admission cannot be
     refuted by other evidence).


                                                 5
Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 6 of 7



                           Austin, Texas 78702-1908
                           (512) 477-1663 (o)
                           (512) 476-6212 (f )

                           Attorneys for the Plaintiﬀ




                             6
        Case 1:18-cv-00088-DAE Document 23 Filed 09/18/18 Page 7 of 7



                          CERTIFICATE OF SERVICE

      By my signature above, I certify that a copy of this pleading has been sent to the

following on September 18, 2018 via the Court’s CM/ECF notice system.

                                         JAMES F. GILLIGAN
                                         jim.gilligan@usdoj.gov
                                         Assistant United States Attorney
                                         601 N.W. Loop 410, Suite 600
                                         San Antonio, TX 78216-5597
                                         Tel. (210) 384-7345
                                         Fax (210) 384-7312




                                            7
